







				

	




NUMBER 13-07-640-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


                                                                                                                      


TEXAS DEPARTMENT OF 						          Appellant,

TRANSPORTATION


v. 


ALLAN A. CROCKETT AND GULF 					

COAST CONTRACTORS, INC.					         Appellees.

                                                                                                                      

 

On appeal from the 107th District Court 

of Cameron County, Texas


                                                                                                                      


OPINION
			


Before Justices Yañez, Rodriguez, and Vela


Opinion by Justice Vela


		

	Appellant, the Texas Department of Transportation ("TxDOT"), appeals from the
denial of its plea to the jurisdiction regarding a counterclaim filed by appellees, Allan A.
Crockett and Gulf Coast Contractors, Inc. (collectively "Crockett").  We reverse and render,
dismiss Crockett's counterclaim for lack of  jurisdiction.			

I.  Background

	TxDOT filed suit against Crockett for conversion because TxDOT inadvertently paid
$149,362.23 to appellee, Gulf Coast Contractors, Inc., instead of paying that amount to
Gulf Coast Landscape Services, Inc., a different and unrelated company.  TxDOT intended
that two checks be remitted to Gulf Coast Landscape Services, Inc., the company that
performed landscaping services in question for TxDOT.  Crockett filed an answer denying
liability.  Crockett also filed a counterclaim stating that TxDOT consistently underpaid
Crockett for its mowing services and that the parties had entered into a series of forty
seven contracts over the last six years.  

	Although the counterclaim does not specify the exact claim Crockett makes, it
appears to be a loosely pleaded claim for breach of contract.  Crockett also sought a
"declaration from the court that it had been consistently underpaid for its services" and
asked the court to "render a proper construction of the amounts to be paid under the
contracts between the parties and require TxDOT to render a proper accounting."  

	By a plea to the jurisdiction, TxDOT urged that the counterclaim should be
dismissed for lack of jurisdiction, asserting that it retained its sovereign immunity because
Crockett's counterclaim was not germane to, connected with and properly defensive to
TxDOT's conversion suit.  TxDOT also urged that Crockett had not exhausted its
administrative remedy to pursue the alleged underpayments through section 201.112 of
the Texas Transportation Code.  See Tex. Transp. Code Ann. § 201.112 (Vernon Supp.
2007).


II.  Standard of Review

	Sovereign immunity, encompassing both immunity from suit and immunity from
liability, protects political subdivisions of this state from lawsuits for money damages;
sovereign immunity from suit deprives a trial court of subject matter jurisdiction.  Reata
Constr. Corp. v. City of Dallas, 197 S.W.3d 371, 374 (Tex. 2006).  We review a trial court's
ruling on a plea to the jurisdiction based on immunity from suit under a de novo standard
of review.  Tex. Dep't of Parks &amp; Wildlife v. Miranda,133 S.W.3d 217, 226 (Tex. 2004); Tex.
Natural Res. Conservation Comm'n v. IT-Davy, 74 S.W.3d 849, 855 (Tex. 2002).  A
governmental agency, such as TxDOT, is entitled to sovereign immunity unless immunity
has been waived.  Reata, 197 S.W.3d at 374.  As a general rule, courts have deferred to
the Legislature to waive sovereign immunity.  Id. at 375.   In Texas, the courts have made
exceptions to immunity from suit when the waiver comports with the underlying policy
concerns associated with sovereign immunity.  Id. at 375-76. 

III.  Waiver of Immunity

	A.  Substantive Law

	1.  Waiver under Reata

	TxDOT urges that it did not waive its immunity with respect to Crockett's
counterclaim because the counterclaim does not meet the requirements for waiver set forth
in Reata.  In Reata, the Texas Supreme Court iterated that when a governmental entity
files a lawsuit for damages against a private party, it is not immune from suit for claims
against it that are "germane to, connected with, and properly defensive to" claims that the
entity asserts, except for the amounts that exceed the amounts necessary to offset the
governmental entity's claim.  Id. at 376-77.  In Reata, the court explained that when:

	the governmental entity interjects itself into or chooses to engage in litigation
to assert affirmative claims for monetary damages, the entity will presumably
have made a decision to expend resources to pay litigation costs.  If the
opposing party's claims can operate only as an offset to reduce the
government's recovery, no tax resources will be called upon to pay a
judgment, and the fiscal planning of the governmental entity  should not be
disrupted.  Therefore, a determination that a governmental entity's immunity
from suit does not extend to a situation where the entity has filed suit is
consistent with the policy issues involved with immunity.  In this situation, we
believe that it would be fundamentally unfair to allow a governmental entity
to assert affirmative claims against a party while claiming it had immunity as
to the party's claims against it.  


Id. at 375-76.


  	In addition, however, and very important to our analysis here, the Reata court
restricted the waiver to only those claims that have a nexus with the governmental entity's
claim.  Id. at 377.  The decision to file suit for damages "encompassed a decision to leave
its sphere of immunity from suit for claims against it which are germane to, connected with
and properly defensive to claims the city asserts."  Id.  A governmental entity retains
immunity from suit as to those claims for monetary damages that are not germane to,
connected with and properly defensive to the entity's claim.  City of Irving v. Inform Constr.,
Inc., 201 S.W.3d 693, 694 (Tex. 2006); City of Angleton v. USFilter Operating Servs.,  Inc.,
201 S.W.3d 677, 678 (Tex. 2006).    By limiting the waiver to claims that are related to the
sovereign's claim, policy decisions regarding government spending remain intact. 

	The term "germane" has been defined as "closely akin," "being at once relevant and
appropriate," "closely or significantly related," "relevant," and "pertinent."  See Sweeney
Comm. Hosp. v. Mendez, 226 S.W.3d 584, 592 (Tex. App.-Houston [1st Dist.] 2007, no
pet.) (citing Merriam-Webster's Collegiate Dictionary 525 (11th ed. 2003)). 
Additionally, the term "connected" means "united, joined or linked" and "joined together in
sequence; linked coherently" and "having parts or elements logically linked together."  Id.
(citing Merriam-Webster's Collegiate Dictionary 525 (11th ed. 2003); Random House
Webster's Unabridged Dictionary 800 (2d ed. 2001)).  Mendez suggests that the term
"properly defensive" was not intended to "restrict jurisdiction for the type of claim raised,
but, rather to restrict jurisdiction over the amount of a claim for damages against the
governmental entity to the amount that the government actually recovers."  Id. at 593-94. 
	Since Reata, several of our sister courts have analyzed what it means for a claim
to be germane to, connected with and properly defensive.  In State v. Langley, the
Langleys asserted a counterclaim that the State had contracted with them for relocation
expenses in response to an eminent domain action filed by the governmental entity.  232
S.W.3d 363, 367 (Tex. App.-Tyler 2007, no pet.).  The Tyler court of appeals iterated that
the Langleys' relocation, misrepresentation, and breach of contract claims were not
germane to, connected with, and properly defensive to the eminent domain claims made
by the State.  Id.  According to the Tyler court, the counterclaim issues were totally
separate from the eminent domain claims.  Id.  

	On the other hand, in Muenster Hosp. Dist. v. Carter, the Fort Worth court of
appeals held that the doctors' retaliatory discharge claims were germane to, connected
with and properly defensive to the hospital's breach of contract claim.  216 S.W.3d 500,
501 (Tex. App.-Fort Worth 2007, no pet.).  The Carter panel opined that if the hospital
district engaged in retaliatory discharge, that fact was germane to, connected with and
properly defensive to the physician's alleged failure to maintain full time medical practices
at the hospital.  Id. at 505.  Likewise, in Mendez, the court held that a physician's
counterclaims for tortious interference, defamation and retaliation were germane to,
connected with and properly defensive to the hospital's claim of breach of an employment
contract.  226 S.W.3d at 586.  The court said that although the elements of the claim
differed, the core facts were the same--determining whether the hospital and the physician
met their obligations under the contract was necessary to both the hospital and the
physician's claims.  Id. at 593.

	2.  Elements of the Claim and Counterclaim

	Here, Crockett's counterclaim is for allegedly being underpaid on forty seven
contracts.  The elements of a breach of contract action are:  (1) the existence of a valid
contract; (2) performance or tendered performance by the plaintiff; (3) breach by the
defendant; and (4) damages sustained by the plaintiff as a result of the breach.  Southwell
v. University of Incarnate Word, 974 S.W.2d 351, 354-55 (Tex. App.-San Antonio 1998,
pet. denied).  The claim of conversion was based on Crockett's retention of two checks in
January 2002, one for $26,025.59 and one for $123,336.64, checks inadvertently paid to
Crockett for work done by a different company.  The elements of conversion are:  (1) the
plaintiff owned, had legal possession of, or was entitled to possession of the property; (2)
the defendant assumed and exercised dominion and control over the property in an
unlawful and unauthorized manner, to the exclusion of and inconsistent with the plaintiff's
rights; and (3) the defendant refused the plaintiff's demand for the return of the property. 
Huffmeyer v. Mann, 49 S.W.3d 554, 558 (Tex. App.-Corpus Christi 2001, no pet.).  

	Crockett does not claim that it did not cash the checks in question, nor does it claim
other available defenses to a conversion claim, such as qualified good-faith refusal or a
superior title or right to the funds.  See Stein v. Mauricio, 580 S.W.2d 82, 83 (Tex.
App.-San Antonio 1979, no writ); Enduro Oil Co. v. Parish &amp; Ellison, 834 S.W.2d 547, 549
(Tex. App.-Houston [14th Dist.] 1992, writ denied).  Rather, the claims arise from distinct
conduct at different times and under very different circumstances.  The two claims are not
related.

	Additionally, the counterclaim was not germane or connected because it embraced
entirely different elements from the conversion claim and sought recovery for claims totally
unrelated to the alleged converted checks.  The counterclaim does not arise from the same
transaction or occurrence that is the subject matter of TxDOT's claim.  See Tex. R. Civ. P.
97(a).  The only common thread is that both claims involve landscape services.  The facts
concerning the alleged conversion of two checks in 2002 are not related to the purported
underpayment of landscape services over a six-year period as asserted in the
counterclaim.

	As previously discussed, Reata and its progeny have found counterclaims to be
germane, connected with and properly defensive for clear and obvious reasons.  For
instance, in Reata, the city of Dallas asserted a cross claim for negligence against Reata. 
197 S.W.3d at 373.  Reata's claim was likewise for negligence; it merely mirrored the city
of Dallas's claim.  Id.  Similarly, in Mendez and Carter, retaliatory discharge claims were
clearly germane to the employment contracts between the physicians and the
governmental entities because all issues revolved around the same contractual
relationship.  Although none of the post-Reata cases are factually similar, the scenario
presented in  Langley is more akin to this case.  There, the court found the relocation,
misrepresentation and breach of contract claims were not germane to, connected with, and
properly defensive to the eminent domain action by the governmental entity.  Langley, 232
S.W.3d at 367.  The counterclaim here does not meet the elements required by Reata; it
is not germane to, connected with and properly defensive to TxDOT's conversion claim. 
TxDOT's first issue is sustained.  

IV.  Failure to Exhaust Administrative Remedies

	We also agree with TxDOT that Crockett was required to, but never attempted to
utilize the administrative procedures in place for its complaints regarding underpayment
for work done.  When the Legislature vests exclusive jurisdiction in an administrative
agency, trial courts have no jurisdiction over claims governed by the relevant statute until
the administrative process is exhausted.  State v. Fidelity and Deposit Co. of Md., 223
S.W.3d 309, 311 (Tex. 2007).  The Texas Transportation Code authorizes TxDOT to
"establish procedures for the informal resolution of a claim arising out of a contract
described by . . . Chapter 223."  Tex. Trans. Code Ann. § 201.112 (Vernon Supp. 2007). 
Section 223.001 of the Texas Transportation Code states that TxDOT is to submit
competitive bids for contracts for the improvement of a highway that is part of the state
highway system or for materials used in the construction of or maintenance of a highway. 
Id. § 223.001 (Vernon 1999).  Improvement includes "construction, reconstruction,
maintenance, and the making of necessary plan or survey before beginning construction,
reconstruction or maintenance."  Id. § 221.001(2) (Vernon Supp. 2007).  Here, it is
undisputed that the work performed came within the category of maintenance. (1)  The
legislature has expressly determined that the transportation code provides the exclusive
remedy for contract claims against TxDOT.  Tex. Dept. of Transp. v. Jones Bros. Dirt &amp;
Paving Contractors, 92 S.W.3d 477, 484 (Tex. 2002).  Because the Transportation Code's
administrative remedies cover maintenance contracts, the trial court had no subject matter
jurisdiction over Crockett's counterclaims.  TxDOT's second issue is sustained.

V.  Request for Declaratory Relief

	TxDOT also argues that Crockett's request is not a proper one for declaratory relief. 
We agree.  Private parties may not circumvent sovereign immunity by characterizing a suit
for money damages as one for declaratory relief.  City of Houston v. Williams, 216 S.W.3d
827, 828-29 (Tex. 2007).  The only remedy sought by Crockett is for money damages.  In
fact, its own prayer for relief asked the trial court to "render a judgment for any shortage
to GCC" and render a "proper construction of the amounts to be paid under the contracts
between the parties and require TxDOT to render a proper accounting to GCC."  TxDOT's
third issue is sustained.

VI.  Conclusion

	The trial court had no subject matter jurisdiction over Crockett's counterclaim
because it was not germane to, connected with and properly defensive to TxDOT's claim
for conversion.  TxDOT's immunity has not been waived.  Additionally, the trial court had
no jurisdiction because the Transportation Code set forth specific administrative remedies
to address resolution of contracts such as the maintenance contracts at issue here, and
Crockett did not exhaust its administrative remedies before filing suit.  We reverse and
render judgment dismissing Crockett's counterclaims for lack of subject matter jurisdiction. 	

								

							

								ROSE VELA

								Justice


Opinion delivered and 

filed this 5th day of June, 2008.
1. For instance, section 223.042 of the Transportation Code defines a maintenance project as "any
routine or preventive maintenance activity."  Tex. Transp. Code Ann. § 223.042(h) (Vernon Supp. 2007).  The
term includes such activities as mowing, litter pick-up and herbicide spraying.  Id.


